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            IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION
JIMMY E. SHAW, and,
MARK BARTLEY,

      Plaintiffs,

v.                                           Case No.: 5:19-cv-859

GALO EQUIPMENT & CONSTRUCTION, LLC,
and ANTHONY BRADFORD GALO, JR.,

     Defendants.
_______________________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiffs, JIMMY E. SHAW and MARK BARTLEY, by and through their

undersigned     counsel,     sue   the   Defendants,    GALO      EQUIPMENT        &

CONSTRUCTION, LLC and ANTHONY BRADFORD GALO, JR., and in support

thereof allege as follows:

                                   INTRODUCTION

      1.      Plaintiffs bring this action for unpaid wage compensation and other

relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 201, et seq.

Plaintiffs seek damages for unpaid wages, liquidated damages, and a reasonable

attorney’s fee and costs.

                                   JURISDICTION

      2.      Jurisdiction is conferred on this Court by Title 28 U S.C. § 1337 and by
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Title 29 U.S.C. §216(b).

                                      VENUE

      3.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1)

because Defendant, GALO EQUIPMENT & CONSTRUCTION, LLC, has offices

located in Bexar County, Texas.

                                  THE PARTIES

      4.      Plaintiff, JIMMY E. SHAW, is an individual who resides in Comal

County, Texas, and worked for Defendants from approximately August of 2017

through December of 2017 as a driver and was paid a percentage per load.

      5.      Plaintiff, MARK BARTLEY, is an individual who resides in Comal

County, Texas, and worked for Defendants from approximately August 21, 2017

through June 5, 2018 as a driver and was paid a percentage per load.

      5.      Defendant, GALO EQUIPMENT & CONSTRUCTION, LLC, is a

corporation formed and existing under the laws of the State of Texas and at all times

material to this complaint, maintained and operated a business in Bexar County,

Texas.

      6.      Defendant, ANTHONY BRADFORD GALO, JR., is a resident of

Bexar County Texas.
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                           COMMON ALLEGATIONS

      7.      Defendant, GALO EQUIPMENT & CONSTRUCTION, LLC,

operates a company primarily engaged as a trucking company primarily engaged in

the local delivery of construction and road materials to customers solely within the

state of Texas and is an employer as defined by 29 U.S.C. § 203(d).

      8.      Defendant, GALO EQUIPMENT & CONSTRUCTION, LLC, has

employees subject to the provisions of 29 U.S.C. § 206 in the facility where Plaintiffs

were employed.

      9.      At all times material to this complaint, Defendant, GALO

EQUIPMENT & CONSTRUCTION, LLC, employed two or more employees and

had an annual dollar volume of sales or business done of at least $500,000.00.

      10.     At all times material to this complaint, Defendant, GALO

EQUIPMENT & CONSTRUCTION, LLC, was an enterprise engaged in interstate

commerce, operating a business engaged in commerce or in the production of goods

for commerce as defined by § 3(r) and 3(s) of the Act, 29 U.S.C. §§ 203(r)-(s).

      11.     At all times material hereto, Defendant, ANTHONY BRADFORD

GALO, JR., actively managed GALO EQUIPMENT & CONSTRUCTION, LLC,

on a day-to-day basis and acted directly or indirectly in the interest of Defendant,

GALO EQUIPMENT & CONSTRUCTION, LLC, in relation to Plaintiffs’
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employment and was substantially in control of the terms and conditions of the

Plaintiffs’ work.

      12.    Plaintiffs were at all times material individually engaged in commerce

as their work was directly related to the movement products and information in

interstate commerce.

      13.    Defendant, ANTHONY BRADFORD GALO, JR., had the authority to

hire and fire Plaintiffs and controlled Plaintiffs’ rates of pay and methods of pay,

schedules, and conditions of employment and was the Plaintiffs’ employer as

defined by 29 U.S.C. § 203(d).

      14.    Defendants failed to act reasonably to comply with the FLSA

      15.    Plaintiffs are also entitled to an award of reasonable and necessary

attorneys’ fees, costs, expert fees, mediator fees and out-of-pocket expenses incurred

by bringing this action pursuant to 29 U.S.C. § 216(b) and Rule 54(d) of the Federal

Rules of Civil Procedure.

                         UNPAID OVERTIME WAGES

      16.    During one or more weeks of Plaintiffs’ employment with Defendants,

Plaintiffs worked in excess of forty hours.

      17.    Plaintiffs regularly worked from 6:00 a.m. until 7:30 p.m., five days per

workweek while employed by the Defendants.
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      18.     Throughout the employment of Plaintiffs, the Defendants repeatedly

and willfully violated Sections 7 and 15 of the Fair Labor Standards Act by failing

to compensate Plaintiffs at a rate not less than one and one-half times their regular

rate of pay for each hour worked in excess of 40 in a workweek. Defendants had

knowledge of and approved such work being performed.

      19.     As a result of Defendants’ unlawful conduct, Plaintiffs are entitled to

actual and compensatory damages, including the amount of overtime wages which

were not paid that should have been paid.

      20.     The acts described in the preceding paragraphs, supra, violate the Fair

Labor Standards Act, which prohibits the denial of overtime compensation for all

hours worked in excess of 40 per workweek.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand Judgment,

jointly and severally, against Defendants for the following:

      a.      Unpaid overtime wages found to be due and owing;

      b.      An additional amount equal to the amount of overtime wages
              found to be due and owing as liquidated damages;

      c.      Prejudgment interest in the event liquidated damages are not awarded;

      d.      Reasonable attorneys’ fees, costs, expert fees, mediator fees and out of
              pocket expenses incurred by bringing this action pursuant to 29 U.S.C.
              § 216(b) and Rule 54(d) of the Federal Rules of Civil Procedure; and,

      e.      For any such other relief as the Court may find proper, whether at law
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      or in equity.

                      DEMAND FOR JURY TRIAL

Plaintiffs demand a jury trial on all issues so triable.




                                  Respectfully submitted,

                                  ROSS • SCALISE LAW GROUP

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